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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------x
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                    ORDER
         -against-                                  05 CR 401 (ILG)

JAMES McTIER, et al.,

                        Defendants.
----------------------------------------------x
GLASSER, United States District Judge:

         The government provided information in a letter to defense counsel dated July 5,

2007, which it requested be filed under seal for the reasons stated, and the request was

granted.

         In a letter to the Court dated July 10, 2007, counsel for James McTier, asserting

that there was no reason for it, requested that the letter be unsealed. No support for his

reason was provided by way of authority or otherwise. In the absence thereof, his

request is denied, without prejudice.

         SO ORDERED.

Dated:         Brooklyn, New York
               July 11, 2007



                                                                 S/
                                                    I. Leo Glasser
